Case 8:19-cv-00845-EAK-TGW Document 21 Filed 05/20/19 Page 1 of 3 PageID 194




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

JOANNA ERICKSON and
STEVEN ERICKSON, husband and
wife, and THE CHURCH WITHOUT LIMITS,
INC. d/b/a/ NO LIMITS LEARNING
ACADEMY, a Florida nor-for-profit company,

       Plaintiffs,
v.                                                     CASE NO.: 8:19-cv-845-EAK-TGW

MANATEE COUNTY SHERIFF’S
DEPARTMENT and the MANATEE
COUNTY CHILD PROTECTIVE SERVICES
DIVISION OF THE MANATEE COUNTY
SHERIFF’S DEPARTMENT,

      Defendants.
____________________________________/


                PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS AND
                        CORPORATE DISCLOSURE STATEMENT

I hereby disclose the following pursuant to this Court's interested persons order:

1.     The name of each person, association of person, partnership, and corporation that has or
       may have an interest in the outcome of this action - including subsidiaries, conglomerates,
       affiliates, parent corporations, publicly-traded companies that own 10% or more of a party's
       stock, and all other identifiable legal entities related to any party in the case:

           1.    Joanna Erickson, Plaintiff
           2.    Steven Erickson, Plaintiff
           3.    The Church Without Limits, Inc. d/b/a No Limits Learning Academy, Plaintiff
           4.    Manatee County Sheriff’s Department, Defendant
           5.    Manatee county Child Protective Services Division of the Manatee County Sheriff’s
                 Department, Defendant

2.     The name of every other entity whose publicly-traded stock, equity, or debt may be
       substantially affected by the outcome of the proceedings:

       None.
Case 8:19-cv-00845-EAK-TGW Document 21 Filed 05/20/19 Page 2 of 3 PageID 195



3.     The name of any other entity which is likely to be an active participant in the proceedings
       including the debtor and members of the creditor's committee (or twenty largest unsecured
       creditors) in bankruptcy cases:

       None.

4.     The name of each victim (individual or corporate) of civil and criminal conduct alleged to
       be wrongful, including every person who may be entitled to restitution:

       None.

        I hereby certify that, except as disclosed above, I am unaware of any actual or potential
conflict of interest involving the district judge and magistrate judge assigned to this case, and will
immediately notify the Court in writing on learning of any such conflict.

Dated: May 20, 2019


                                               Respectfully Submitted

                                                /s/ David P. Mitchell
                                               David P. Mitchell, Esquire
                                               Florida Bar No.: 067249



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 20th day of May, 2019, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.




                                                  /s/Jack Gordon                 _
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Case 8:19-cv-00845-EAK-TGW Document 21 Filed 05/20/19 Page 3 of 3 PageID 196



                                     Counsel for Plaintiffs

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